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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS
MARSHALL DIVISION

SIGNODE INDUSTRIAL GROUP LLC,
Plaintiff,

V.
Civil Action No. 2:24-cv-00080-JRG
SAMUEL, SON & CO., LTD. and SAMUEL, SON
& CO. (USA) INC. d/b/a SAMUEL PACKAGING
SYSTEMS GROUP and SAMUEL STRAPPING
SYSTEMS,

Defendants.

SECOND DECLARATION OF TRACI CHAPPLE IN SUPPORT OF DEFENDANTS
SAMUEL, SON & CO., LTD.’S AND SAMUEL, SON & CO. (USA) INC.’S MOTION TO
TRANSFER TO THE NORTHERN DISTRICT OF ILLINOIS PURSUANT TO 28 U.S.C.

§ 1404(a)
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I, Traci Chapple, declare as follows:

1. I am Product Design Manager at Samuel, Son & Co. (USA) Inc. (“Samuel USA”).
I am submitting this declaration in support of Samuel USA’s and Samuel, Son & Co., Ltd.
(“Samuel Canada”) (collectively, “Samuel”’) Reply in Support of its Motion to Transfer to the
Northern District of Illinois Pursuant to 28 U.S.C. § 1404(a).

2. Since submitting my first declaration in support of Samuel’s Motion to Transfer, I
have further investigated the products handled and the documents located at Samuel’s Longview
facility. I have confirmed that the Longview facility has not and does not offer for sale, sell, make,
distribute, or store the STL-500 (the “Accused Product”). Consistent with this, there are also no
brochures, product manuals, or other physical marketing materials related to the Accused Product
at the Longview facility. Nor have any such materials been removed in response to this lawsuit.

3. Regarding sales documents related to the Accused Product, I previously stated that
“to the extent there are documents related to marketing, sales, or financial accounting of the STL-
500 in this District, such documents are not unique, as the same documents are located in N.D.
Ill.” [have since confirmed that any documents at Longview related to sales or financial accounting
of the Accused Product are electronic in nature and are easily accessed from N.D. Ill. Further, they
are limited to regional sales, which is just a minor subset of the overall Accused Product sales
information Samuel possesses. There are no physical documents related to marketing, sales, or
financial accounting of the Accused Product located at Samuel’s Longview facility, nor have any
such materials been removed in response to this lawsuit. To my knowledge, no such physical
documents have ever been located or available in any capacity at the Longview facility since this
location does not sell or handle the STL-500. Physical documents are located in N_D. Ill. at Samuel

USA’s headquarters in Woodridge while electronic documents are stored on a server in Canada.
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I declare under penalty of perjury that the foregoing is true and correct.

Executed on: 99/17/2024

Traci Chapple
